Case 1:20-cv-00342-JAO-RT Document 72 Filed 05/31/22 Page 1 of 2           PageID #: 379




                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 ROY JOSHUA GOUVEIA,           )           CIVIL NO. 20-00342 JAO-RT
                               )
            Plaintiff,         )           ORDER ADOPTING MAGISTRATE
                               )           JUDGE’S FINDINGS AND
      vs.                      )           RECOMMENDATION TO GRANT
                               )           DEFENDANT JACQUE D.
 CAPTAIN JACKIE M., SERGEANT )             MULLEITNER’S MOTION TO DISMISS
 TOTAU, SERGEANT HEDGE,        )           PRISONER CIVIL RIGHTS COMPLAINT,
 CORRECTIONAL OFFICER          )           FIRST AMENDED COMPLAINT FOR
 GAZMAN, CORRECTIONAL          )           LACK OF PROSECUTION
 OFFICER JUSTIN KANAKAOLE, )
                               )
            Defendants.        )
 _____________________________ )

         ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS
           AND RECOMMENDATION TO GRANT DEFENDANT
 JACQUE D. MULLEITNER’S MOTION TO DISMISS PRISONER CIVIL RIGHTS
            COMPLAINT, FIRST AMENDED COMPLAINT FOR
                     LACK OF PROSECUTION

       Findings and Recommendation having been filed and served on all parties on

 May 13, 2022, and no objections having been filed by any party,

       IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to 28 U.S.C.

 United States Code § 636(b)(1)(C) and Local Rule 74.1, the Findings and

 Recommendation is adopted as the opinion and order of this Court.
Case 1:20-cv-00342-JAO-RT Document 72 Filed 05/31/22 Page 2 of 2             PageID #: 380




       IT IS SO ORDERED.

       DATED:        Honolulu, Hawai‘i, May 31, 2022.




 Civil No. 20-00342 JAO-RT, Gouveia v. Capt. Jackie M., et al.; ORDER ADOPTING MAGISTRATE
 JUDGE’S FINDINGS AND RECOMMENDATION TO GRANT DEFENDANT JACQUE D.
 MULLEITNER’S MOTION TO DISMISS PRISONER CIVIL RIGHTS COMPLAINT, FIRST
 AMENDED COMPLAINT FOR LACK OF PROSECUTION




                                             2
